Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 1 of 9
Bartlett
to discuss
budget

Mayor Dewey Bartlett
wit) discus ube city of

Tulas's pending budget

wal at ihe Tiles Frees
Club Page te Luncheon
a June 21,

A former clty counciler
and current ptesident of
Recher inl amd tia Cu,
he Was stvorn in as Tutea's
391h maynr in Mecember,

Harilett’s proposed byad-
get of $585.8 million In-
cludes fee ingreases ta gen
eratefyndsthad would allow
the city 10 restore services
that have been reduced or
eliminated, The City Coun-
cil mun approve a bu
before the city begins a new
fucal year on fuly 1.

¢ iunchenn prescnia-
tion begins at noon In the
Tulsa Freas Club inside the
Alaa Life Building 465 &
Boston Ave. Luncheon cost
is $25 for members and $20
for nonmembers.

Tickets are available at
the Tulsa Prese Club, $8 s-
7737, uf c-nuil maiwiybs
Preatclub com.

POLITICAL
NOTEBOOK

DA weeks retlecto: Tim
Harris hav sanvunced that
he wil seck a fourth fw
year term as Tulsa Crunty
Mistrict attorney,

Harris, a Republican, in-
dicated that he plas tu file
fermally aaa candidate for
re-election an Monday.

“Prosceuting crime is my
pagiony Matris sah

“1 will continue to pro-
ie able safety through
Uhe tm and fair " Prosecu-
Hen nf criminals,” he sakd,
“Tulsa trounty ueserves a
proven prosecutor to ad>
drese the chatlenges we
face, and that is why | am
running fee re-election”

ic
recently declaring them:
selves candidates for area
lewistative offices include:
© Mouse Diarice 72 incu
bent Seneca Scort, 2 Deme
Cral. Scot won the vacant
nonh Tulsa seat (we years
aye
"Toure District 73 in-
cumbent Jahar Shumate,
a Democrat. Shumate has
held the north Tulsa seat
vince 2004.
aDewey Ciy Manager
Nick Brown, 9 [2¢mocrat
secking ihe House Districy
W oscat now held
publican Steve Martin. The
monly rural distrigh ine
chides off of Nowata Coun-
ty ahd pertiona of Wash-
lngton and Chsage counties.

Republican

af Corporation (omnis
siemer Wang Murphy and
Waboar Comminioner can-
didate Mark Cosella will

Prosecutor shap

Gy DAVID HARPER
World Stat Writer

There will be a void at the
U8. Attorney's Office in Tulsa
on Monday.

Kenneth Sneke will no lone
wer be wurking there, Souke
retired last week after 35
pa axa federal prnsecuter
mt the Northern Wisteic. of
Oklahoma.

“We hime news" the 6 Aayeurs
ald Snoke said while take
ing a break (rom packing up
boxes full of memories. “I've
Planned thia for awhile.”

ough his colleaguca
knew this day was coming, it
docavt make the departure
aay eceier for them.

“it's mind-boggling how
prolific he was a1 a proa-
cular,” acting ILS. Ailorney
Scott Woodward sait “Fs
mlaggering tnsay the least”

Woodwan! said Snoke haz
an "encyclopedic recollection,
of the Law" and expressedihe
belicf that Snoke has been
involved in more caves that
do white-coller
manyone eler La
this federal circuit.

Avistant US. Atlotney:
a Leitch, whe has worked
with Saske fer neatly 20
stam, gaid Spoke hae *pros-
ecuted every oct of crime I
can ittagibe.”

A lot af that versatility was
barn of necessity. Snoke said
that when he Gest arrived in
Tulsa in 1978, he was one of
Untee assistants wha handled
etiminal cases — gumpated
with abuut 25 pow.

A lot of pecple live their
whole lives without geting
(a do what they reatly want.
Smoke bs spent hie whole

refcusional life doing exact=

y what he wanted toda,

vA Los Angeles native and
Navy veteran, Snoke decided
aban early age he would like
tobe a federal prosecutor. AE
ter marrying his wife, Gece-
ge and meviag in Tulsa,

e pratusted in 1970 from
the University of Tulsa Law
scliool.

Durlng hia Last year in Law

school be inletned In the
Tula US. Aticrney's Ullice,
helping with research and
utrafting ecatch warrsnts.

Ia February 071, he he-
came an assistant US. attor-
ey In Low Angeles, After o
Fitile more than Jour years,
he received word from the
peopl: he had impressed at
a law student that there was
an opening in the Tulsa office.
Ile recalled that he “huddled
up* with Geurgia and they
decided that Tulsa would be

a goml place to raise theit
dauphien. who were born In
California.

in Tulsa, Sooke prosecuted
a full array a federal crimes
and became the chie! of the
ofhee’s criminal divisinn
from {984 until 2001, when
he shifted io the tolecfsenior
litigation cuunsel.

Leith, who was deputy
etimminal chief under Snoke
from 1997 until 2001, said one
of Snoke’s impressive traits
vis that he bas cantinued io
study the legal tecnds im all
aspects of the tau.”

In recent years, Snoke haw
focused: mostly on so-called
ewhile-collar” cases. I's a
kalegury that can inturpus
rate everything from multi-

ekreeiy ees tee ee

ter

TMT

MR eco el a Rhy atta Ried

Ps org Ckrek coin |

ree ern |
Dente ear eed

be teaturet ay durs
ing the Tulsa Republican
Assembly mecting at? pm.
Tuesday at Furr's Buffet in
The Farm Shopping Gen+
tes,

= WORLD ITF REPTR EL

Just What The
Docior Ordered!

We're helped thousands & we car help poo!

8222 E 10rd St, #192
{103rd & Memorial} SOLUTIONS
916-369-4848 mie

Man's body
found in river

LUTHER (AP) — Crews
recovered the body of a man
who jumped into the Deep
Fosk River in tiahoms
County and didn't reryriage,

Luther Fire Chief Brian
Martin said Saturday that
aa Qklahoma Chy water
fescue (eam found Michael
Finck, 28, about 115 am.
feat the area where lie

gan locking for Finch on
Friday, and crews returned
about 8 am, Salurday.

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white-collar fraud law

Aovletand US,
ttormey

milllon-doflar fraud and tax
Prosecutions 10 eomething as
routing aga aiclen mail case.
US. Postal inspector Al
Chaps said that na mater
the scope of the ease, Snoke
brought the saitie inien-
sity and conceniration as he
learted abuul the underlying

dn a federal system where a
linge number of cases resuli
in guilty pleas.

Woedwank, a vetcran of
many trials himeell acknowk
edged chat Snaoke's appreach
in ihe cayrtroom may have
beena little “uncpaventional”
byl wan ettremely effective,

errs a wae an

TRY DEY te

facta. The stery of Smoke scarch>

“Ile listens tr you like it's ing for an exhibit watil a Mitsubishi 40
thefimteasche'severwesked Judge told him, “Mr. Stoke, [1080p 120HZ Sound bar
on, ChapasaidbeforeSnoke’s would you please come out a
final day un the job, frum under that lble andl

Assistant U4 Attorney Jol comtinuc your cxamination

Gallant said: “te brings such
a joy to his work, even alter
doing it for almost 40 years. Ic
‘was a pleamre and honor 10
work with aomeune like hit
Ulcarned frem him every tite
talker to him.”

When told of such com:
Pliments about hia attitude,
Smoke wail “has what
We're suppened toa"

Worlward said that Apnke

of shis witness” ba the stuffol
courthouse legend.

Ashe fades intothe sunset,
the queatlon will be where
Shuke will be tu see the sun
dip below the horizon.

Ic aru Georgia have trave
cled all over the world. Name
a place — Antarctica, for ex~
aniple —and clungesare they
have been (here. Rewirement
will allow them mare time to
add to their long list of alven=
qres. Sooke sald he plana on
doing some volunteer work,
but he bas no plans to do anys
thing in the world of criminal
a slime tn move An,” he
said.

hae kept ithe same drive
even fe ann tetiteenent ap-
proached.

“Alotof; le slaw dewn,*
Woodwa . “Uf anything,
he his accelerated in the past
few years.”

By his estimation, Snoke
Tuas Tandled. more than [00
trials =a le number

Get Everything for
Your Backyard
Pool or Spa Here

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Inground Pook Starting & $24,999
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Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 3 of 9
Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 4 of 9

U.S. Department b. ustice

Tax Division

Deputy Assistant Atorney General Washington, D.C. 20530
December 23, 2008

Charles A. O’Reilly, Esquire

Trial Attorney

U.S. Department of Justice

Tax Division

Western Criminal Enforcement Section
Washington, D.C. 20530

Dear Mr. O’Reilly:

As an attorney for the United States who is employed full time by the Department of
Justice and assigned to the Tax Division, you are hereby authorized to represent the United States
in any kind of legal proceeding, civil or criminal, including grand jury proceedings and
proceedings before United States Magistrate Judges, in the Northern District of Oklahoma or in
any other judicial district. You are authorized by the Tax Division to conduct such business on
behalf of the United States that United States Attommeys are authorized to conduct, including such
matters as filing an information, presenting an indictment, and entering into a plea agreement.
This authority is granted pursuant to 28 U.S.C. § 515(a) and 28 CFR § 0.13(a).

You may file a copy of this letter with the Clerk of the District Court as evidence of your
authorization to represent the United States.

Sincerely,
# “

AA Haba / (COA

HN A, MARRELLA
Deputy Assistant Attorney General

ce: NATHAN J. HOCHMAN
Assistant Attorney General
Tax Division
Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 5 of 9
Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 6 of 9

U.S. Department of Justice

DAVID E. O’MEILIA
United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7938
January 5, 2009

Charles A. O’Reilly, Trial Attorney
Department of Justice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE: SAUSA Appointment Paperwork

Dear Mr. O’Reilly:

Pursuant to 28 U.S.C. § 543, effective the date of this letter you are hereby appointed
as a Special Assistant United States Attorney for the Northern District of Oklahoma, subject
to the following conditions:

1. You are appointed to assist the Office with a DOJ Tax Investigation.

2. The appointment expires on January 5, 2010 unless extended.

3. You will report to and act under the direction of David E. O’Meilia with regard
to any matters handled.

4. You understand and agree to serve without compensation other than that which
you are now receiving under your existing appointment.

5. This appointment may be terminated at any time without cause or notice.
Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 7 of 9

January 5, 200%
Page 2

6. You must execute and return to the Personnel Staff within 14 days the enclosed
Appointment Affidavit containing the oath of office, Statement of Appointment
Conditions, and a signed copy of this letter. Your signature in the space provided
below acknowledges your agreement to the terms and conditions of this
appointment.

Sincerely,

te ™

DAVID E. O’MEILIA
UNITED STATES ATTORNEY

Enclosures

The foregoing terms and conditions are hereby agreed to and accepted:

—_—
Senay, 2907
Charles A. OReilly 7” Date Y

Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 8 of 9
Case 4:09-cr-00043-SPF Document 641-1 Filed in USDC ND/OK on 04/10/18 Page 9 of 9

U.S. Department of Justice

THOMAS SCOTT WOODWARD
Acting United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 (918) 382-2700
Tulsa, Oklahoma 74}19 Fax (918) 560-7938
January 4, 2010

Charles A. O’Reilly, Trial Attorney
Department of Justice, Tax Division
601 D Street, N.W., Suite 7032
Washington, DC 20530

RE: SAUSA Extension Paperwork

Dear Mr. O’ Reilly:

Your appointment as a Special Assistant United States Attomey for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2011. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional
appointment papers are necessary.

Sincerely,

Thomas Scott Woodward
Acting United States Attorney
